                                                                                           Case 2:24-cv-01204-WBS-AC Document 10 Filed 06/07/24 Page 1 of 3


                                                                                    1 Adam D. Brownrout (SBN 323846)
                                                                                      REED SMITH LLP
                                                                                    2 101 Second Street
                                                                                      Suite 1800
                                                                                    3 San Francisco, CA 94105-3659
                                                                                      Telephone: +1 415 659 5978
                                                                                    4 Facsimile: +1 415 391 8269

                                                                                    5 Michael B. Galibois
                                                                                      Timothy R. Carwinski
                                                                                    6 (Applications for Pro Hac Vice Admission to be
                                                                                      Filed)
                                                                                    7 REED SMITH LLP
                                                                                      10 South Wacker Drive,
                                                                                    8 40th Floor
                                                                                      Chicago, IL 60606-7507
                                                                                    9 Telephone: +1 312 207 1000
                                                                                      Facsimile: +1 415 391 8269
                                                                                   10
                                                                                      Attorneys for Defendant
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 AECIQ, a California Corporation

                                                                                   12 Rachel E. Kaufman (CSB# 259353)
                                                                                      Rachel@kaufmanpa.com
REED SMITH LLP




                                                                                   13 KAUFMAN P.A.
                                                                                      237 S Dixie Hwy, 4th Floor
                                                                                   14 Coral Gables, Florida 33133
                                                                                      Telephone (305) 469-5881
                                                                                   15
                                                                                      Attorney for Plaintiff and the Proposed Class
                                                                                   16

                                                                                   17                               UNITED STATES DISTRICT COURT

                                                                                   18                              EASTERN DISTRICT OF CALIFORNIA

                                                                                   19 EDWARD G NEWMAN JR.,                               No.: 2:24-cv-01204-WBS-AC
                                                                                      individually and on behalf of all others
                                                                                   20 similarly situated,                                JOINT STIPULATION EXTENDING TIME
                                                                                                                                         FOR AECIQ, A CALIFORNIA
                                                                                   21                        Plaintiff,                  CORPORATION TO RESPOND TO
                                                                                                                                         COMPLAINT; AND PROPOSED ORDER
                                                                                   22         vs.
                                                                                                                                         [Local Rule 144]
                                                                                   23 AECIQ, a California corporation,

                                                                                   24                        Defendants.

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                                                                                   28
                                                                                        No.: 2:24-cv-01204-AC                    –1–                             US_ACTIVE-180297178.2

                                                                                          JOINT STIPULATION EXTENDING TIME FOR DEFENDANT AECIQ, A CALIFORNIA CORPORATION TO
                                                                                                                   RESPOND TO COMPLAINT; AND ORDER
                                                                                           Case 2:24-cv-01204-WBS-AC Document 10 Filed 06/07/24 Page 2 of 3


                                                                                    1         EDWARD G NEWMAN JR., individually and on behalf of all others similarly situated

                                                                                    2 (“Plaintiff”) and AECIQ, a California corporation (“Defendant”), by and through their respective

                                                                                    3 counsel, hereby stipulate and agree as follows:

                                                                                    4         WHEREAS, Plaintiff served Defendant with the Complaint on April 29, 2024;

                                                                                    5         WHEREAS, the deadline for Defendant to respond to Plaintiff’s Complaint was May 20,

                                                                                    6 2024;

                                                                                    7         WHEREAS, counsel for the parties have met and conferred regarding Defendant’s

                                                                                    8 responsive pleading deadline;

                                                                                    9         WHEREAS, Plaintiff’s counsel is amenable to agreeing on a new deadline for Defendant to

                                                                                   10 respond to the Complaint;
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         WHEREAS, in light of the above, all parties agree that the new deadline for Defendant to

                                                                                   12 respond to Plaintiff’s Complaint shall be June 14, 2024.
REED SMITH LLP




                                                                                   13         NOW THEREFORE, the parties hereby STIPULATE AND AGREE to extend the deadline

                                                                                   14 for Defendant to respond to Plaintiff’s Complaint to June 14, 2024.

                                                                                   15         IT IS SO STIPULATED.

                                                                                   16 DATED: June 5, 2024

                                                                                   17                                              REED SMITH LLP
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                                                                                   19                                              By: /s/ Adam D. Brownrout
                                                                                                                                       Michael B. Galibois
                                                                                   20                                                  Timothy R. Carwinski
                                                                                                                                       Adam D. Brownrout
                                                                                   21                                                  Attorneys for Defendant
                                                                                                                                       AECIQ, a California Corporation
                                                                                   22

                                                                                   23 DATED: June 5, 2024

                                                                                   24
                                                                                                                                   KAUFMAN P.A
                                                                                   25

                                                                                   26                                              By: /s/ Rachel E. Kaufman
                                                                                                                                       Rachel E. Kaufman
                                                                                   27                                                  Attorney for Plaintiff
                                                                                   28
                                                                                        No.: 2:24-cv-01204-AC                    –2–                             US_ACTIVE-180297178.2

                                                                                          JOINT STIPULATION EXTENDING TIME FOR DEFENDANT AECIQ, A CALIFORNIA CORPORATION TO
                                                                                                                   RESPOND TO COMPLAINT; AND ORDER
                                                                                           Case 2:24-cv-01204-WBS-AC Document 10 Filed 06/07/24 Page 3 of 3


                                                                                    1                                               ORDER

                                                                                    2         Based on the stipulation of the parties, and good cause appearing, the deadline for AECIQ, a

                                                                                    3 California corporation to respond to Plaintiff’s Complaint shall be June 14, 2024.

                                                                                    4         IT IS SO ORDERED.

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                                                                                        Dated: June 6, 2024
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REED SMITH LLP




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                                                                                        No.: 2:24-cv-01204-AC                    –3–                             US_ACTIVE-180297178.2

                                                                                          JOINT STIPULATION EXTENDING TIME FOR DEFENDANT AECIQ, A CALIFORNIA CORPORATION TO
                                                                                                                   RESPOND TO COMPLAINT; AND ORDER
